       Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

AUTUMN MONTGOMERY                                       CIVIL ACTION NO.: 2:19-CV-02208
AND NATESHUS JACKSON

VERSUS                                                          JUDGE ELDON E. FALLON

WAITR HOLDINGS, INC.                      MAGISTRATE JUDGE DOUGLAS
_____________________________________________________________________________

                 OPPOSITION TO MOTION TO COMPEL ARBITRATION

        Plaintiff Nateshus Jackson did not agree to arbitrate his claim against Waitr.              The

Agreement attached to Mover’s Memorandum (Doc. 16-2) specifically provides that a contract is

formed only upon execution by the parties. The Agreement requires acceptance by actual

signatures, and on its face demonstrates this essential element is missing.

        When a party seeks to compel arbitration based on a contract, the first question is whether

there is a contract between the parties at all. Arnold v. Homeaway, Inc., 890 F, 3d 546, 550 (5th

Cir. 2018); Kubala, 830 F.3d at 201-02. Edwards v. Doordash, Inc., 888 F.3d 738, 744 (5th Cir.

2018), cit. Klein v. Nabors Drilling USA L.P., 710 F.3d 234, 236 (5th Cir. 2013).1 Arguments

that an agreement to arbitrate was never formed are to be determined by the court even where the

agreement delegates issues of arbitrability of the dispute to the arbitrator. Edwards, 888 F.3d

738, 744 (5th Cir. 2018), See Kubala, 830 F.3d at 202.

        In conducting this first inquiry the Court distinguishes between “validity or

enforceability” challenges and “formation or existence” challenges. Homeaway, 890 F.3d at 550




1
 Following Buckeye and Rent–A–Center, we must distinguish arguments regarding the validity of the
arbitration agreement from arguments regarding the validity of a contract as a whole. Edwards, 888 F.3d
738, 743–44 (5th Cir. 2018) (citations omitted).


                                                   1
       Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 2 of 9



(citing Rent-A-Ctr., 561 U.S. at 70 n.2; Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440,

444 n.1 (2006).

        Though the difference between formation and validity may be unclear at the margins, the

category of arguments that question the very existence of an agreement include whether the

alleged obligor ever signed the contract. Id. quoting Buckeye, 546 U.S. at 444 n.1. “[I]t is for the

courts to decide at the outset whether an agreement was reached, applying state-law principles of

contract.” Will-Drill Res., Inc., 352 F.3d at 218.

        Federal courts apply state law to evaluate the underlying agreement. Edwards, 744 cit.

Banc One Acceptance, 367 F.3d at 430.            Louisiana adopts the federal two-step analysis to

determine whether a party is required to arbitrate. La. R.S. 9:4201; Donelon v. Shilling, 2019 WL

993328 (La. App. 1 Cir. 2/28/19), Aguillard v. Auction Mgmt. Corp., 908 So.2d 1, (La. 2005).

        The first inquiry is whether the party has agreed to arbitrate the dispute. Donelon at * 13.

Arbitration is a matter of contract; a party cannot be required to arbitrate any dispute he has not

agreed so to submit.2

        The party seeking arbitration has the burden of proof to establish the existence of a valid

and enforceable arbitration agreement. See Lafleur, 960 So.2d at 109. The policy favoring

arbitration does not apply to this initial determination. Donelon at * 13, Snyder, 899 So.2d at 62.

Rather, ordinary state law contract principles determine who is bound. Id.

        If Mover makes the required showing the burden shifts to the plaintiff to demonstrate that

he did not consent to arbitration or his consent was vitiated by error, which rendered the

arbitration provision unenforceable. Id.



2
 Donelon at * 13, Snyder, 899 So.2d at 63 (citing Billieson v. City of New Orleans, 863 So.2d 557, 561,
(La. App. 4th Cir. 2003), writ den. 870 So.2d 303


                                                     2
       Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 3 of 9



        Under Louisiana law valid contract formation requires (1) a lawful purpose, (2) capacity

to contract, (3) free and mutual consent (3) and a cause or reason for obligating oneself. Bowman

v. 84 Lumber Co., L.P., 2009 WL 1323015, at *1 (E.D. La. May 8, 2009).

        A party who signs a written instrument is presumed to know its contents and cannot

avoid its obligations by contending that he did not read it, that he did not understand it, or that

the other party failed to explain it to him. Donelon, at *23 cit. Tweedel v. Brasseaux, 433 So.2d

133, 137 (La.1983).

        The Agreement Waitr submitted in support of its Motion bears the purported facsimile

signature of Waitr’s president, and no signature after “Contractor”. Plaintiff has attested by

Affidavit that he did not read or sign the Independent Contractor and Software License

Agreement when he was hired by Waitr. (Exhibit 1). He does not believe he was asked to read

and sign the Agreement before he was hired, or afterwards. Id.

        One can be bound by an arbitration agreement he did not sign under “beneficial estoppel”

doctrine. Donelon, at *16.3 Under that theory a plaintiff may not avoid arbitration if he sues to

enforce the contract containing the arbitration provision. Beneficial estoppel does not apply in

this case because Mr. Jackson does not seek to enforce the so called “Independent Contractor and

Software License Agreement”. He is not seeking to recover the delivery fee described in the

document. Mr. Jackson actually denies that he and similarly situated drivers were independent

contractors, and denies the contract is enforceable at all, because he was at all times an employee

of Waitr and the Defendant was his employer within the meaning of the FLSA. Amended

Complaint, ¶15-3, 15-4, 15-5, and 15-7.



3
 Courville v. Allied Professionals Insurance Co., 218 So.3d 144, 148, n.3 (La. App. 1st Cir. 2017); writ
den. 228 So.3d 1223


                                                    3
         Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 4 of 9



          Jackson contends the so called “Independent Contractor and Software License

Agreement” is void and unenforceable in its entirety because it violates the mandatory FLSA

minimum wage and overtime pay requirements. Because Jackson’s claims are not associated

with the enforcement of the contract containing the arbitration provision, he is not bound to

arbitrate the claims under Louisiana law, unless he voluntarily signed the contract. Donelon, at

*16.

          In Aguillard4 the La. Supreme Court found an arbitration agreement enforceable because

the plaintiff signed the contract “acknowledging that he ... read and [understood the] AUCTION

TERMS & CONDITIONS and agree[d] to be bound thereby”. The court found further:

          “After careful review of the terms of the arbitration clause, we find nothing sufficient to
          establish the defendants were in such a superior bargaining position as to render the
          plaintiff a far weaker party or the contract adhesionary, nor do we find anything in the
          document itself that would call into question the validity of plaintiff's consent to the terms
          of the agreement as indicated by his signature. The doctrine of contract of adhesion is
          inapplicable in this case.”

908 So. 2d 1, 24 (emphasis added)

          The Agreement attached to Mover’s Memorandum (Doc. 16-2) specifically provides that

a contract is formed only upon execution by the parties:

          “AGREEMENT: NOW, THEREFORE, in consideration of the premises, mutual
          covenants and agreement hereinafter contained and for other good and valuable
          consideration, the receipt and adequacy of which are hereby acknowledged, and upon
          execution by the parties hereto of this Agreement, the Company hereby engages
          Contractor, and Contractor hereby accepts such engagement, as an independent
          contractor to provide Delivery Services (as defined below) on the terms and conditions
          set forth in this Agreement.”

          Doc. 16-2, p. 4 of 28 (emphasis added)

          When in the absence of a legal requirement, the parties have contemplated a certain form,

it is presumed that they do not intend to be bound until the contract is executed in that form. La.


4
    Aguillard v. Auction Management Corp., 908 So. 2d 1 (La. 2005)

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       Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 5 of 9



Civ. Code. Art. 1947. The Agreement attached to Mover’s exhibit requires acceptance by actual

signatures, and on its face demonstrates this essential element is missing:

        “IN WITNESS WHEREOF the Company and Contractor have each caused this
        Agreement to be signed and delivered by its duly authorized officer or representative, all
        as of the Effective Date: October 5, 2016. Contractor Signature: None.”

        Id., p. 23 of 28 (emphasis added).

        Note: The Agreement Waitr submitted in support of its Motion contains an execution

page with the purported facsimile signature of Waitr’s president, dated October 5, 2016. There is

no signature after the word “Contractor”. Doc. 16-2, p. 23 of 28. Plaintiff has attested by

Affidavit that he did not read or sign the Independent Contractor and Software License

Agreement when he was hired by Waitr. (Exhibit 1). Mr. Jackson believes he was hired in

January 2017. See Supplemental and Amending Complaint, Doc. 3, ¶ 15-1. If that is so, it

appears (a) someone at Waitr attached a predated form execution page bearing a facsimile

signature of the president to a copy of the “Agreement”, either as a matter of routine practice or

specifically for use as an exhibit in support of the Motion, and (b) Ms. Jeanine Hebert’s

Declaration, that the Exhibit is a true and correct copy of an Agreement executed on October 5,

2016, is false.

        A separate undated document attached to Mover’s exhibit is a printed form entitled

“Employment Forms”. Doc 16-2, p. 25 of 28. That document states:

        “Your signature below is required as an acknowledgement of your agreement to the
        attached documents.”


The text is followed not by a signature but the printed name “Nateshus Jackson”. There is no

indication in the papers filed by Mover who typed in Plaintiff’s signature, when or why. Jackson




                                                 5
       Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 6 of 9



attests he did not sign the “Employment Forms” document when he was hired by Waitr, or

afterwards. Affidavit, Exhibit 1.

        If Mr. Jackson had actually signed the document attached to the exhibit (which is clearly

not part of the “Agreement”) that would not have signified assent to the “Independent Contractor

and Software License Agreement”, because the Agreement was not attached to the form. The

form refers only to attachments “Confidential Information_2838”, and “Driver_Contract_726”.

Doc. 16-2, p. 25 of 28.5

        The Agreement submitted in support of the Motion evidences lack of consent necessary

to formation of a contract because the material terms including even the consideration for the

engagement are not stated. Art. V Compensation, the Agreement states:

        “Contractor is entitled to receive as compensation for each completed Job (the
        “Compensation”) the percentage of the Delivery Fee actually received actually received
        by the Company with respect to each Job set forth on Schedule A, designated thereupon
        as the “Compensation Calculation”, as well as any gratuities or tips paid to Contractor
        through the Waitr Ap.”

        Doc. 16-2, p. 10 of 28

        “Schedule A” is blank.        Id., p. 24 of 28.     As noted above when the parties have

contemplated a certain form, it is presumed that they do not intend to be bound until the contract

is executed in that form. La. Civ. Code. Art. 1947. The language cited above certainly indicates

the parties intended that the form of the agreement contain a completed Schedule A stating the

cause or consideration (Compensation) for the parties to be bound. See also La. Civ. Code Art.




5
 Waitr supposedly made an effective distinction between employees classified as Drivers and so called
Independent Contractors. If Mr. Jackson had signed a document such as that attached to Mover’s Tab A,
signifying his agreement to be bound by Waitr’s Driver Contract, (or if someone typed Jackson’s
signature on the form) that fact would evidence only that “contractors” were subject to the same rules and
same degree of control Wait exerted over employee Drivers and therefore not exempt from the FLSA
minimum wage and overtime requirements.
                                                    6
      Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 7 of 9



1949: Error vitiates consent when it concerns a cause without which the obligation would not

have been incurred and that cause was known or should have been known to the other party.

       Absence of Bargaining Power

       Although absence of bargaining power is a factor that goes to the issue of adhesion, (i.e.

validity of the contract as a whole), under Aguillard bargaining power is also relevant to the

question of consent (formation) which is clearly a threshold question for the Court. See Edwards

v. Doordash, at 810.

       Applicants for driver jobs at Waitr have no bargaining power. While Aguillard could

have bargained for better terms or simply walked away from the auction, those seeking

employment as on-demand drivers in the “gig economy” jobs have no real choice in the matter.

In the wake of court decisions favoring employer use of mandatory arbitration agreements such

agreements have proliferated and abound, and are now industry standard.               There is no

negotiation, and for sub-minimum wage workers victimized by unfair and oppressive wage

practices, no choice but to forfeit their right of civil action under the FLSA.

       Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1636, 200 L. Ed. 2d 889 (2018) assumed but

did not decide that assent can be inferred from continued employment. J. Ginsberg dissent

questioned whether that kind of inferred consent can support a truly bilateral contract:

       “The Court's opinion opens with the question: “Should employees and employers be
       allowed to agree that any disputes between them will be resolved through one-on-one
       arbitration?” Ante, at 1619. Were the “agreements” genuinely bilateral? Petitioner Epic
       Systems Corporation e-mailed its employees an arbitration agreement requiring
       resolution of wage and hours claims by individual arbitration. The agreement provided
       that if the employees “continue[d] to work at Epic,” they would “be deemed to have
       accepted th[e] Agreement.” App. to Pet. for Cert. in No. 16–285, p. 30a. Ernst & Young
       similarly e-mailed its employees an arbitration agreement, which stated that the
       employees' continued employment would indicate their assent to the agreement's terms.
       See App. in No. 16–300, p. 37. Epic's and Ernst & Young's employees thus faced a
       Hobson's choice: accept arbitration on their employer's terms or give up their jobs.”



                                                  7
      Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 8 of 9



       Plaintiffs submit J. Ginsberg’s concern is particularly relevant under Louisiana contract

principles which require free and mutual consent, in a business climate where mandatory

arbitration is industry standard and free and mutual consent is a fiction.


       Conclusion

       Plaintiff Jackson did not agree to arbitrate his claim against Waitr.     The purported

arbitration agreement provides that a contract is formed only upon execution by the parties, and

requires acceptance by actual signatures. The documents submitted in support of the Motion

demonstrates this essential element for an agreement to arbitrate is missing.

       WHEREFORE Plaintiff prays that the Motion to Compel Arbitration be denied.




                                              RESPECTFULLY SUBMITTED,

                                              BRINEY FORET CORRY

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                                                  8
      Case 2:19-cv-02208-EEF-DMD Document 20 Filed 05/07/19 Page 9 of 9



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has this date been presented to

defendant’s counsel via:

       ()     Hand Delivery                         ( )   Prepaid U.S. Mail
       ()     Facsimile                             ( )   Certified Mail
       (X)    E-Mail                                ( )   Federal Express

       Lafayette, Louisiana this 7th day of May, 2019.

                                            /s/Christopher L. Zaunbrecher______________




                                               9
